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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,

                                                MEMORANDUM AND ORDER
             - against -
                                                15-cr-637(KAM)

 MARTIN SHKRELI,

                        Defendant.

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 MATSUMOTO, United States District Judge:

             Defendant Martin Shkreli (“Mr. Shkreli”) has brought,

 for the second time since he began serving his 84-month

 sentence, a motion for “compassionate release” from prison or a

 sentence reduction pursuant to 18 U.S.C. § 3582(c)(1)(A).            (ECF

 No. 754.)    The Government opposes the motion.        (See ECF No.

 759.)   For the reasons herein, Mr. Shkreli’s motion is

 respectfully DENIED.

                                 Background

             The court assumes familiarity with Mr. Shkreli’s

 criminal trial and conviction, which were recounted in detail in

 several of the court’s prior orders, including the court’s

 February 26, 2018 Memorandum and Order denying Mr. Shkreli’s

 motion for a judgment of acquittal.        (See ECF No. 535,

 Memorandum and Order, at 2-50.)        Mr. Shkreli was charged in a

 superseding indictment in 2016 with two counts each of fraud,

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 conspiracy to commit securities fraud, and conspiracy to commit

 wire fraud, in connection with two hedge funds (MSMB Capital and

 MSMB Healthcare); and with one count of conspiracy to commit

 wire fraud and one count of conspiracy to commit securities

 fraud, in connection with a pharmaceutical company known as

 Retrophin.    (Id. at 2.)    After a five-week trial, Mr. Shkreli

 was convicted by a jury in August 2017 of one count of

 securities fraud in connection with MSMB Capital, one count of

 securities fraud in connection with MSMB Healthcare, and one

 count of conspiracy to commit securities fraud in connection

 with Retrophin.     (Id. at 5-6.)

            On March 9, 2018, after considering the advisory

 sentencing Guidelines and the factors pursuant to 18 U.S.C. §

 3553(a) (“Section 3553(a)”), this court sentenced Mr. Shkreli to

 84 months in prison for his conviction on the two counts of

 securities fraud, and 60 months in prison for his conviction on

 the count of conspiracy to commit securities fraud, to run

 concurrently.    (ECF No. 583, Amended Judgment.)         The court also

 sentenced Mr. Shkreli to three years of supervised release with

 special conditions to follow the completion of his custodial

 sentence, and ordered him to pay a fine of $75,000, plus

 approximately $388,000 in restitution.         (Id.)

            On April 22, 2020, Mr. Shkreli brought his first

 motion for compassionate release, citing the risks posed to him

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 in prison by the global COVID-19 pandemic.          (ECF No. 729, First

 Motion to Reduce Sentence.)       On May 16, 2020, this court denied

 Mr. Shkreli’s motion.      (See ECF No. 734, Memorandum and Order

 (“May 16 Order”).)     The court held that Mr. Shkreli had not

 shown “extraordinary and compelling reasons” that would warrant

 a modification of his sentence.        (Id. at 5.)    Mr. Shkreli failed

 to demonstrate that a “current medical condition place[d] him at

 increased risk for significant complications from the virus.”

 (Id.)   The court also found persuasive Mr. Shkreli’s relatively

 young age and the fact that at that time, his prison facility,

 FCI Allenwood Low, had zero confirmed cases of COVID-19.            (Id.

 at 5-7.)    In addition, the court found that all of the

 sentencing factors under Section 3553(a) weighed against Mr.

 Shkreli’s early release from prison.         (Id. at 8-9.)

             On December 23, 2020, Mr. Shkreli filed a second

 motion for compassionate release or a sentence reduction.            (ECF

 Nos. 754, Emergency Motion to Reduce Sentence (“Mot.”); see ECF

 No. 755.)    The government opposed the motion.        (ECF No. 759,

 Response in Opposition (“Opp.”).)        Mr. Shkreli replied to the

 government’s opposition.      (ECF No. 762, Reply to Response in

 Opposition (“Reply”).)




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                               Legal Standard

            The First Step Act, 18 U.S.C. § 3582(c), or the so-

 called “compassionate release” statute, creates an exception to

 the general prohibition against modifying a term of imprisonment

 once it has been imposed.      Under the statute, defendants may

 move a court to “reduce” a term of imprisonment upon a finding

 that “extraordinary and compelling reasons warrant such a

 reduction . . . and that such a reduction is consistent with

 applicable policy statements issued by the Sentencing

 Commission.”    18 U.S.C. § 3582(c)(1)(A).

            The relevant policy statement, U.S.S.G. § 1B1.13,

 allows a court to reduce a term of imprisonment if

 “extraordinary and compelling reasons warrant the reduction,”

 “the defendant is not a danger to the safety of any other person

 or to the community, as provided in 18 U.S.C. § 3142(g),” and

 “the reduction is consistent with this policy statement.”              In

 addition, when considering a sentence reduction, the court must

 apply the Section 3553(a) sentencing factors, including: (1) the

 nature and circumstances of the offense and the history and

 characteristics of the defendant, (2) the need for the sentence

 imposed to afford adequate deterrence to criminal conduct, (3)

 the need for the sentence imposed to protect the public from

 further crimes of the defendant, and (4) the need for the

 sentence imposed to provide the defendant with needed

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 educational or vocational training, medical care, or other

 correctional treatment in the most effective manner.           See 18

 U.S.C. § 3553(a).

            “The defendant carries the burden of showing that he

 or she is entitled to a sentence reduction under the statute.”

 United States v. Schultz, No. 17-cr-193 (WMS), 2020 WL 2764193,

 at *2 (W.D.N.Y. May 28, 2020) (citing United States v. Ebbers,

 432 F. Supp. 3d 421, 426 (S.D.N.Y. 2020)).

                                 Discussion

            Here, despite Mr. Shkreli’s sympathetic emotional and

 mental stressors, his ongoing defense of a civil action brought

 against him by the Federal Trade Commission (“FTC”), and the

 presence of COVID-19 at FCI Allenwood Low, he has failed to show

 “extraordinary and compelling reasons” for immediate release or

 for a sentence reduction.

            There are two material circumstances raised in Mr.

 Shkreli’s latest motion that have changed since the court denied

 his first motion.     First, the number of COVID-19 cases at FCI

 Allenwood Low has increased since the court denied his first

 motion (see Mot. at 27-28); however, the government represents

 that as of the date of its opposition to his motion, there were

 no confirmed cases in Mr. Shkreli’s housing unit (Opp. at 2).

 Second, Mr. Shkreli is a defendant in a civil action brought in

 the Southern District of New York by the FTC and several states,

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 alleging an anti-competitive scheme by Mr. Shkreli and others

 (FTC et al. v. Vyera Pharmaceuticals, LLC et al., Case No. 20-

 cv-706 (S.D.N.Y.), the “FTC lawsuit”).         (See Mot. at 4-5.)      The

 FTC lawsuit has several looming discovery deadlines, and Mr.

 Shkreli argues that he has been unable to confer adequately with

 his lawyers, due to the lockdowns at FCI Allenwood Low as a

 result of the pandemic.      (See id. at 13-15.)      The judge

 presiding over the FTC lawsuit recently declined to stay

 discovery in that action.      (See Case No. 20-cv-706 (DLC)

 (S.D.N.Y.), ECF No. 368, Memorandum and Order.)

    I.   COVID-19

            The court is concerned for all inmates, and is mindful

 of the challenges to their physical and mental health presented

 by this unprecedented global pandemic.         It is undisputed that

 the overall situation at FCI Allenwood Low is worse today than

 it was in May of last year.       However, the government reports

 that as of January 6, 2021, no positive cases have occurred in

 Mr. Shkreli’s housing unit.       (Opp. at 2.)    The court is

 confident that the Bureau of Prisons (“BOP”) is doing everything

 possible to meet the challenge, and it appears to have reduced

 the spread of infections.      As detailed in the government’s

 opposition, the BOP has implemented an action plan (see id. at

 10-13), part of which has resulted in the lockdowns that Mr.

 Shkreli argues are so strict that he has been unable meet with

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 his lawyers.    Ten days ago, there were 56 inmates with active

 cases of COVID-19 at FCI Allenwood Low (and none in Mr.

 Shkreli’s unit).     (Id. at 2.)     Today, there are 29 active cases

 of COVID-19 among inmates at FCI Allenwood Low out of a total of

 895 inmates (plus fourteen cases among staff), 1 meaning that the

 spread appears to have been curbed, and the likelihood of

 infection for an individual inmate is still relatively low.

             Moreover, as discussed in the court’s prior Memorandum

 and Order, Mr. Shkreli is a relatively young and healthy man of

 37 years, meaning that even if he were to contract COVID-19, he

 would not be at a high-risk to suffer severe complications.

 (See May 16 Order at 6-7.)       The only conditions Mr. Shkreli

 raises now in his second motion that were not raised in his

 first motion are certain mental health conditions that allegedly

 “weaken his immune system.”       (Mot. at 25-28.)      Mr. Shkreli did

 not provide any medical documentation to support his claim that

 his immune system is weakened, and mental health disorders are

 not classified as a risk factor for COVID-19 by the Centers for

 Disease Control and Prevention.        (See Opp. at 16-17.)       Further,

 a mental health practitioner has evaluated Mr. Shkreli and found

 him to be stable.     (Id.)    The court expects that the BOP will

 continue providing treatment to Mr. Shkreli for these conditions



 1 See BOP, COVID-19 Cases, https://www.bop.gov/coronavirus/ (last accessed
 Jan. 16, 2021).

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 while he is incarcerated, and the court does not find that they

 warrant a modification of his sentence.          See United States v.

 Brady, No. 18-cr-316 (PAC), 2020 WL 2512100, at *3 (S.D.N.Y. May

 15, 2020) (“[R]elease is not justified because those conditions

 are stable and the Defendant has managed them in prison[.]”).

 As the court previously held, although the COVID-19 pandemic is

 an unprecedent challenge for the BOP, Mr. Shkreli has not made a

 showing that his unique medical situation presents a risk

 amounting to an “extraordinary and compelling” reason that

 warrants a modification of his sentence.

    II.   The FTC Lawsuit

            The FTC lawsuit against Mr. Shkreli and others is

 currently pending in the Southern District of New York before

 the Honorable Denise L. Cote.       Mr. Shkreli argues that he is

 being denied his constitutional right to civil counsel, because

 he has only had “infrequent and severely time-limited

 confidential legal phone calls” with the lawyers representing

 him in that case.     (Mot. at 23.)       Mr. Shkreli alleges that he

 had “only a little more than a dozen legal calls” with his

 counsel since he became aware that he was a target of the FTC’s

 investigation, often limited to about 15 minutes, and he was not

 allowed any calls between March 10 and May 20, 2020.           (Id.)

 According to the government, while Mr. Shkreli has had 14 legal

 calls with the counsel representing him in the FTC lawsuit to

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 date, FCI Allenwood Low has been open for in-person legal visits

 since March 13, 2020, by request on a case-by-case basis (and

 for about three months in late 2020, without restriction), but

 the counsel representing Mr. Shkreli in the FTC lawsuit did not

 make a single request to meet with him in person during that

 time.   (Opp. at 6.)

            Mr. Shkreli, of course, should have meaningful access

 to counsel in order to defend himself in the FTC lawsuit.

 According to the federal prison consultant who submitted an

 expert declaration in support of Mr. Shkreli’s motion, the BOP

 has “done a somewhat satisfactory job at arranging communication

 thus far,” although “the necessary communication needed going

 forward [will be] far more extensive in duration and frequency.”

 (Mot., Ex. 2, Declaration of Jack T. Donson, ¶ 10.)           The fact

 that Mr. Shkreli may need additional communications going

 forward, however, does not present an “extraordinary and

 compelling” reason to release him from prison early.           Moreover,

 Mr. Shkreli admitted in his reply brief that since the filing of

 his second motion for compassionate release, he has had two

 additional legal calls between 30-60 minutes, and a two-hour

 video session with counsel over Zoom.         (Reply at 1.)

            If it eventually turns out that Mr. Shkreli is unable

 to meet deadlines in the FTC lawsuit that were ordered by Judge

 Cote, that is ultimately an issue to be raised and resolved

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 before Judge Cote.      Indeed, in the FTC lawsuit, Mr. Shkreli

 sought a stay of all discovery until he was released from

 prison.    On January 8, 2021, Judge Cote denied Mr. Shkreli’s

 request. (See Case No. 20-cv-706 (DLC) (S.D.N.Y.), ECF No. 368,

 Memorandum and Order.)      Judge Cote found that Mr. Shkreli had

 failed to show “good cause” for a stay of the FTC lawsuit, in

 part because he is represented “by a team of experienced and

 able counsel from two law firms,” and he “has at his disposal

 several methods for communicating with his attorneys, including

 sending and receiving legal mail, the availability of legal

 visits for much of the time [the FTC lawsuit] has been pending,

 unmonitored legal calls, and emails and calls over the [BOP’s]

 TRULINCS and TRUFONE systems.”        (Id. at 3-5.)     Judge Cote also

 noted that “[d]espite invitations by the [BOP] to [Mr. Shkreli’s

 civil] counsel to schedule visits to meet with [Mr.] Shkreli,

 his attorneys have not done so.”          (Id. at 5 n.2.)   This court

 agrees with Judge Cote that although litigating from prison may

 be more difficult, it is far from impossible, and Mr. Shkreli

 has a sufficient number of options to confer with counsel such

 that he will not be deprived of his constitutional rights if he

 continues to serve his prison term.

             Mr. Shkreli also requests, in the alternative, that

 this court “recommend that the BOP grant Mr. Shkreli unlimited

 telephone and/or virtual meeting access to his attorneys

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 . . . .”    (Mot. at 1.)    Mr. Shkreli’s request for additional

 access to his civil litigation team in order to defend himself

 in the FTC lawsuit would perhaps be more appropriately directed

 to the court in which that civil case is pending, rather than to

 the undersigned.     In any event, Mr. Shkreli is surely not the

 only inmate at FCI Allenwood Low who must speak to lawyers about

 ongoing legal matters, and the court is mindful that the BOP has

 already accommodated Mr. Shkreli beyond what is often provided

 to other inmates, and there may be a need to limit the number of

 inmates accessing the telephones or videoconference equipment at

 one time to mitigate the spread of COVID-19.          Accordingly,

 because the BOP must balance a number of considerations in

 granting access to the telephones and videoconference hardware,

 this court will not recommend “unlimited” telephone and

 videoconference access for Mr. Shkreli.          The court, however,

 encourages the BOP to continue to accommodate Mr. Shkreli’s

 access to his counsel to the extent it can safely and fairly do

 so.

    III. Section 3553(a) Factors

             Finally, upon a motion for compassionate release, the

 court must also consider the relevant sentencing factors under

 Section 3553(a).     This court previously found that all of the

 factors weighed against modifying Mr. Shkreli’s sentence (see

 May 16 Order at 8-9), and now finds no basis to change its

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 assessment.    Mr. Shkreli committed fraud by intentionally

 deceiving investors.      Before his sentencing, he made disparaging

 remarks about the government and the sentencing process, and

 solicited an assault on a public figure by offering to pay money

 in exchange for strands of her hair.          The court considered these

 circumstances and the other relevant factors at the time of

 sentencing, and determined that a total prison sentence of 84

 months was appropriate.       Mr. Shkreli has now completed

 approximately 40 months of that sentence, and nothing has

 changed since the court denied his first motion for release that

 compels a different result.

                                  Conclusion

             For the foregoing reasons, Mr. Shkreli’s motion is

 respectfully DENIED.      Mr. Shkreli has not made a showing of

 “extraordinary and compelling reasons” warranting a modification

 of his sentence, and all of the relevant sentencing factors

 weigh against a modification of his sentence.

 SO ORDERED.

 Dated:      January 16, 2021
             Brooklyn, New York


                                           _________/s/_    ____________
                                           Hon. Kiyo A. Matsumoto
                                           United States District Judge
                                           Eastern District of New York




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